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                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION
NetChoice LLC, Computer &                  §
Communications Industry Association        §     CIVIL NO:
                                           §     AU:21-CV-00840-RP
vs.                                        §
                                           §
Ken Paxton, et al

      ORDER RESETTING PRELIMINARY INJUNCTION HEARING
       IT IS HEREBY ORDERED that the above entitled and numbered case is reset for
PRELIMINARY INJUNCTION HEARING in Courtroom 4, on the Fifth Floor, United States
Courthouse, 501 West Fifth Street, Austin, TX, on Monday, November 29, 2021 at 09:00 AM.

        IT IS SO ORDERED this 28th day of October, 2021.




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                                           ROBERT PITMAN
                                           UNITED STATES DISTRICT JUDGE
